                Case 1:18-cv-01035-SCJ-JFK Document 2 Filed 03/20/18 Page 1 of 2




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

             MARQUIS MCGEE,                              :     PRISONER ACTION
                Plaintiff,                               :     28 U.S.C. § 1331
                                                         :
                   v.                                    :
                                                         :
             GREGORY MCLEOD,                             :     CIVIL ACTION NO.
                 Defendant.                              :     1:18-CV-1035-SCJ-JFK

                                                     ORDER

                   Plaintiff, who was not incarcerated at the time he filed this action, brings this

             counseled federal civil rights action under Bivens v. Six Unknown Named Agents of

             Federal Bureau of Narcotics, 403 U.S. 388 (1971), against Gregory McLeod. (Compl.,

             ECF No. 1). The matter is before the Court for preliminary review.

                   Generally, this Court performs a preliminary review of prisoner complaints

             before service of process on defendants to determine whether the action is frivolous,

             malicious, fails to state a claim, or seeks damages from a defendant who is immune

             from such relief. See 28 U.S.C. § 1915A (requiring screening of prisoner complaints

             against governmental officials); 42 U.S.C. § 1997e(c) (governing review of actions

             brought by a prisoner with respect to prison conditions); 28 U.S.C. § 1915(e)

             (governing review of in forma pauperis actions). However, these screening provisions

             are inapplicable because Plaintiff was not a prisoner at the time that he filed this action




AO 72A
(Rev.8/82)
                Case 1:18-cv-01035-SCJ-JFK Document 2 Filed 03/20/18 Page 2 of 2




             and is not proceeding in forma pauperis. Accordingly, Plaintiff is entitled to proceed

             as any other civil litigant.

                    IT IS ORDERED that, for the reasons stated above, this action is ALLOWED

             TO PROCEED as any other fee-paid civil action. Plaintiff, a non-prisoner, is

             responsible for service of process on Defendant.

                    IT IS SO ORDERED, this 20th day of March, 2018.




                                                       2



AO 72A
(Rev.8/82)
